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 7

 8                        UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11
   RICHARD COOKS, on behalf of                ) Case No.
12 himself and all others similarly situated, )
                                   Plaintiff, ) CLASS ACTION COMPLAINT
13
                                              )
         vs.                                    JURY TRIAL DEMANDED
14                                            )
                                              )
15 NATURE REPUBLIC
                                              )
   INTERNATIONAL, LLC,
16                                            )
17                           Defendants. )
                                              )
18

19                                   INTRODUCTION
20        1.     Plaintiff RICHARD COOKS (“Plaintiff”), on behalf of himself and
21 others similarly situated, asserts the following claims against NATURE REPUBLIC

22 INTERNATIONAL, LLC (“Defendant”) as follows.

23        2.     Based on a 2010 U.S. Census Bureau report, approximately 8.1 million
24 people in the United States are visually impaired, including 2.1 million who are blind.

25 According to the American Foundation for the Blind’s 2017 report, approximately

26 786,000 visually impaired persons live in the State of California.

27        3.     “Being unable to access website puts individuals at a great disadvantage
28 in today’s society, which is driven by a dynamic electronic marketplace and

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 1 unprecedented access to information.” U.S. Dep’t of Justice, Statement of Eve L. Hill

 2 before the Senate Comm. on Health, Educ., Labor & Pensions, at 3 (May 14, 2013).

 3         4.     Plaintiff is a blind, visually impaired handicapped person and a member
 4 of a protected class of individuals under the ADA, under 42 U.S.C. § 12102(1)-(2),

 5 and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

 6         5.     Plaintiff requires screen-reading software to read website content using
 7 his computer. Plaintiff uses the terms “blind” or “visually-impaired” to refer to all

 8 people with visual impairments who meet the legal definition of blindness in that they

 9 have a visual acuity with correction of less than or equal to 20 x 200.

10         6.     Plaintiff, individually and on behalf of those similarly situated persons
11 (hereafter “Class Members”), bring this Class Action to secure redress against

12 Defendant NATURE REPUBLIC INTERNATIONAL, LLC (“Defendant”), for its

13 failure to design, construct, maintain, and operate its website to be fully and equally

14 accessible to and independently usable by Plaintiff and other blind or visually-

15 impaired people. Defendant’s denial of full and equal access to its website, and

16 therefore denial of its products and services offered thereby and in conjunction with

17 its physical locations, is a violation of Plaintiffs’ rights under the Americans with

18 Disabilities Act (“ADA”) and California’s Unruh Civil Rights Act (“UCRA”).

19         7.     Plaintiff brings this civil rights action against Defendant to enforce Title
20 III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. (“Title III”),

21 which requires, among other things, that a public accommodation (1) not deny

22 persons with disabilities the benefits of its services, facilities, privileges and

23 advantages; (2) provide such persons with benefits that are equal to those provided to

24 nondisabled persons; (3) provide auxiliary aids and services—including electronic

25 services for use with a computer screen reading program—where necessary to ensure

26 effective communication with individuals with a visual disability, and to ensure that

27 such persons are not excluded, denied services, segregated or otherwise treated

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 1 differently than sighted individuals; and (4) utilize administrative methods, practices,

 2 and policies that provide persons with disabilities equal access to online content.

 3        8.     Because Defendant’s website, www.naturerepublicusa.com, (the
 4 “Website” or “Defendant’s website”), is not fully or equally accessible to blind and

 5 visually-impaired consumers in violation of the ADA, Plaintiff invokes 42 U.S.C. §

 6 12188(a)(2) and seeks a permanent injunction requiring:

 7               (a)       that NATURE REPUBLIC INTERNATIONAL, LLC retain a
 8 qualified consultant acceptable to Plaintiff (“Mutually Agreed Upon Consultant”)

 9 who shall assist it in improving the accessibility of its Website so the goods and

10 services on them may be equally accessed and enjoyed by individuals with vision

11 related disabilities;

12               (b)       that NATURE REPUBLIC INTERNATIONAL, LLC work with
13 the Mutually Agreed Upon Consultant to ensure that all employees involved in

14 website development and content development be given web accessibility training on

15 a periodic basis, including onsite training to create accessible content at the design

16 and development stages;

17               (c)       that NATURE REPUBLIC INTERNATIONAL, LLC work with
18 the Mutually Agreed Upon Consultant to perform an automated accessibility audit on

19 a periodic basis to evaluate whether NATURE REPUBLIC INTERNATIONAL,

20 LLC’s Website may be equally accessed and enjoyed by individuals with vision

21 related disabilities on an ongoing basis;

22               (d)       that NATURE REPUBLIC INTERNATIONAL, LLC work with
23 the Mutually Agreed Upon Consultant to perform end-user accessibility/usability

24 testing on a periodic basis with said testing to be performed by individuals with

25 various disabilities to evaluate whether NATURE REPUBLIC INTERNATIONAL,

26 LLC’s Website may be equally accessed and enjoyed by individuals with vision

27 related disabilities on an ongoing basis;

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 1               (e)   that NATURE REPUBLIC INTERNATIONAL, LLC work with
 2 the Mutually Agreed Upon Consultant to create an accessibility policy that will be

 3 posted on its Website, along with an e-mail address and tollfree phone number to

 4 report accessibility-related problems; and

 5               (f)   that Plaintiff, their counsel and its experts monitor Defendant’s
 6 Website for up to two years after the Mutually Agreed Upon Consultant validates it is

 7 free of accessibility errors/violations to ensure NATURE REPUBLIC

 8 INTERNATIONAL, LLC has adopted and implemented adequate accessibility

 9 policies.

10        9.     Web-based technologies have features and content that are modified on a
11 daily, and in some instances, an hourly, basis, and a one time “fix” to an inaccessible

12 website will not cause the website to remain accessible without a corresponding

13 change in corporate policies related to those web-based technologies. To evaluate

14 whether an inaccessible website has been rendered accessible, and whether corporate

15 policies related to web-based technologies have been changed in a meaningful

16 manner that will cause the website to remain accessible, the website must be

17 reviewed on a periodic basis using both automated accessibility screening tools and

18 end user testing by disabled individuals.

19                                     THE PARTIES
20        10.    Plaintiff, at all relevant times, is and was a resident of Los Angeles
21 County, California. Plaintiff is a legally blind, visually impaired handicapped person,

22 and member of a protected class of individuals under the ADA, pursuant to 42 U.S.C.

23 § 12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§

24 36.101 et seq.

25        11.    Defendant is and was at all relevant times a California Corporation doing
26 business in California, including its store located at 3785 Wilshire Blvd #107f, Los

27 Angeles, CA 90010. Defendant’s servers for the website are in the United States.

28 Defendant conducts a large amount of its business in California, and the United States

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 1 as a whole. Defendant’s stores are public accommodations within the definition Title

 2 III of the ADA, 42 U.S.C. §12181(7). Defendant’s Website is a service, privilege, or

 3 advantage of its services, products and locations.

 4                             JURISDICTION AND VENUE
 5         12.   This Court has subject-matter jurisdiction over this action under 28
 6 U.S.C. § 1331 and 42 U.S.C. § 12188. This Court has subject matter jurisdiction over

 7 the state law claims alleged in this Complaint pursuant to the Class Action Fairness

 8 Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the matter in controversy exceeds the

 9 sum of $5 million, exclusive of interest and costs; and (b) some of the class members

10 are citizens of a state that is different from the state of citizenship of Defendant.

11         13.   Defendant is subject to personal jurisdiction in this District. Defendant
12 has been and is committing the acts or omissions alleged herein in the Central District

13 of California that caused injury and violated rights the ADA and UCRA prescribe to

14 Plaintiff and to other blind and other visually impaired consumers. A substantial part

15 of the acts and omissions giving rise to Plaintiff’s claims occurred in the in this

16 District: on several separate occasions, Plaintiff has been denied the full use and

17 enjoyment of the facilities, goods and services of Defendant’s physical locations

18 and/or Website in Los Angeles County. These access barriers that Plaintiff

19 encountered have caused a denial of Plaintiff’s full and equal access multiple times in

20 the past, and now deter Plaintiff on a regular basis from visiting Defendant’s brick-

21 and mortar physical locations, which Plaintiff intends to do once the Website is

22 accessible to all. Similarly, the access barriers Plaintiff has encountered on

23 Defendant’s website have impeded Plaintiffs’ full and equal enjoyment of goods and

24 services offered at Defendant’s brick-and mortar stores.

25         14.   This Court also has personal jurisdiction over Defendant because it
26 conducts and continues to conduct a substantial and significant amount of business in

27 the State of California, County of Los Angeles, and because Defendant's offending

28 website is available across California.

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 1         15.   Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2)
 2 because Defendant conducts and continues to conduct a substantial and significant

 3 amount of business in this District, Defendant is subject to personal jurisdiction in

 4 this District, and a substantial portion of the conduct complained of herein occurred

 5 in this District.

 6         16.   This Court is empowered to issue a declaratory judgment under 28
 7 U.S.C. §§ 2201 and 2202.

 8                                 NATURE OF ACTION
 9         17.   The Internet has become a significant source of information, a portal,
10 and a tool for conducting business, doing everyday activities such as shopping,

11 learning, banking, researching, as well as many other activities for sighted, blind and

12 visually impaired persons alike.

13         18.   In today’s tech-savvy world, blind and visually impaired people have the
14 ability to access website using keyboards in conjunction with screen access software

15 that vocalizes the visual information found on a computer screen or displays the

16 content on a refreshable Braille display. This technology is known as screen-reading

17 software. Screen-reading software is currently the only method a blind or visually

18 impaired person may independently access the internet. Unless websites are designed

19 to be read by screen-reading software, blind and visually impaired persons are unable

20 to fully access websites, and the information, products, goods and services contained

21 thereon.

22         19.   Blind and visually impaired users of Windows operating system-enabled
23 computers and devices have several screen-reading software programs available to

24 them. Some of these programs are available for purchase and other programs are

25 available without the user having to purchase the program separately. One such

26 program is NonVisual Desktop Access, better known as “NVDA.”

27         20.   For screen-reading software to function, the information on a website
28 must be capable of being rendered into text. If the website content is not capable of

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 1 being rendered into text, the visually impaired user is unable to access the same

 2 content available to sighted users.

 3        21.    The international website standards organization, the World Wide Web
 4 Consortium, known throughout the world as W3C, has published version 2.1 of the

 5 Web Content Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-

 6 established guidelines for making website accessible to blind and visually impaired

 7 people. These guidelines are universally followed by most large business entities and

 8 government agencies to ensure their website are accessible.

 9        22.    Within this context, the Ninth Circuit has recognized the viability of
10 ADA claims against commercial website owners/operators with regard to the

11 accessibility of such websites. Robles v. Domino’s Pizza, LLC, Docket No. 55504

12 (9th Cir. Apr 13, 2017), Court Docket No. BL-66. This is in addition to the

13 numerous courts that already recognized such application.

14        23.    Each of Defendant’s violations of the Americans with Disabilities Act is
15 likewise a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights

16 Act provides that any violation of the ADA constitutes a violation of the Unruh Civil

17 Rights Act. Cal. Civ. Code, § 51(f).

18        24.    Further, Defendant’s actions and inactions denied Plaintiff full and equal
19 access to their accommodations, facilities, and services. A substantial motivating

20 factor for Defendant to deny Plaintiff access was the perception of Plaintiff’s

21 disability. Defendant’s denial of Plaintiff’s accessibility was a substantial motivating

22 factor for Defendant’s conduct. Plaintiff was harmed due to Defendant’s conduct.

23 Defendant’s actions and inactions were a substantial factor in causing the lack of

24 access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, § 51.

25                               STATEMENT OF FACTS
26        25.    Defendant is a skin care company that offers the
27 www.naturerepublicusa.com website to the public. The Website offers features which

28 should allow all consumers to access the goods and services offered in connection

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 1 with its physical locations. The goods and services offered by Defendant include, but

 2 are not limited to the following skincare products for men and women; the ability to

 3 find store locations, access information about order status, returns, discounts,

 4 shipping and delivery options, and other products and services that are available for

 5 purchase online and in stores.

 6        26.    It is, upon information and belief, Defendant’s policy and practice to
 7 deny Plaintiff, along with other blind or visually impaired users, access to

 8 Defendant’s Website, and to therefore specifically deny the goods and services that

 9 are offered and integrated with Defendant’s stores. Due to Defendant’s failure and

10 refusal to remove access barriers to its website, Plaintiff and visually impaired

11 persons have been and are still being denied equal access to Defendant’s stores and

12 the numerous goods, services and benefits offered to the public through its Website.

13        27.    Plaintiff is a visually impaired and legally blind person, who cannot use
14 a computer without the assistance of screen-reading software. Plaintiff is, however, a

15 proficient NVDA screen-reader user and uses it to access the Internet.

16        28.    During Plaintiff’s visits to the Website, the last occurring in November
17 of 2019, Plaintiff encountered multiple access barriers that denied him full and equal

18 access to the facilities, goods and services offered by Defendant to the public.

19 Plaintiff was thus unable to: learn about store locations and hours and contact

20 information; make an online purchase, determine prices for and availability of certain

21 products, and related goods and services available both online and in stores.

22        29.    Due to Defendant’s failure to build its Website in a manner that is
23 compatible with screen reader programs, Plaintiff is and was unable to understand,

24 and thus is denied the benefit of, much of the content and services he wishes to access

25 or use. For example:

26               (a)   Many features on the Website lacks alt. text, which is the invisible
27 code embedded beneath a graphical image. As a result, Plaintiff was unable to

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 1 differentiate what products were on the screen due to the failure of the Website to

 2 adequately describe its content.

 3               (b)    Many features on the Website also fail to Add a label element or
 4 title attribute for each field. This is a problem for the visually impaired because the

 5 screen reader fails to communicate the purpose of the page element. It also leads to

 6 the user not being able to understand what he or she is expected to insert into the

 7 subject field.

 8               (c)    The Website also contains a host of broken links, which is a
 9 hyperlink to a non-existent or empty webpage. For the visually impaired this is

10 especially paralyzing due to the inability to navigate or otherwise determine where

11 one is on the website once a broken link is encountered.

12        30.    As a result of visiting Defendant’s Website and from investigations
13 performed on his behalf, Plaintiff is aware that the Website includes at least the

14 following additional barriers blocking his full and equal use:

15               (a)    The Website does not provide a text equivalent for every non-text
16 element;

17               (b)    The purpose of each link cannot be determined from the link text
18 alone or from the link text and its programmatically determined link context;

19               (c)    Web pages lack titles that describe their topic or purpose;
20               (d)    Headings and labels do not describe topic or purpose;
21               (e)    Keyboard user interfaces lack a mode of operation where the
22 keyboard focus indicator is visible;

23               (f)    The default human language of each web page cannot be
24 programmatically determined;

25               (g)    The human language of each passage or phrase in the content
26 cannot be programmatically determined;

27               (h)    Labels or instructions are not always provided when content
28 requires user input;

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  1               (i)    Text cannot be resized up to 200 percent without assistive
  2 technology so that it may still be viewed without loss of content or functionality;

  3               (j)    A mechanism is not always available to bypass blocks of content
  4 that are repeated on multiple web pages;

  5               (k)    A correct reading sequence is not provided on pages where the
  6 sequence in which content is presented affects its meaning;

  7               (l)    In content implemented using markup languages, elements do not
  8 always have complete start and end tags, are not nested according to their

  9 specifications, may contain duplicate attributes, and IDs are not always unique; and

 10               (m)    The name and role of all UI elements cannot be programmatically
 11 determined; things that can be set by the user cannot be programmatically set; and/or

 12 notification of changes to these items is not available to user agents, including

 13 assistive technology.

 14        31.    Due to the inaccessibility of Defendant’s Website, blind and visually
 15 impaired individuals such as Plaintiff, who need screen-readers, cannot fully and

 16 equally use or enjoy the facilities, products, and services Defendant offers to the

 17 public through its Website. The access barriers Plaintiff encountered have caused a

 18 denial of Plaintiff’s full and equal access in the past, and now deter Plaintiff on a

 19 regular basis from visiting the Website in order to perform functions equal to the

 20 sighted.

 21        32.    These access barriers on Defendant’s Website have deterred Plaintiff
 22 from visiting Defendant’s physical locations and enjoying them equal to sighted

 23 individuals because: Plaintiff was unable to find the location and hours of operation

 24 of Defendant’s stores on its Website and other important information, preventing

 25 Plaintiff from visiting the locations to take advantage of the goods and services that it

 26 provides to the public.

 27        33.    If the Website were equally accessible to all, Plaintiff could
 28 independently navigate the Website and complete a desired transaction as sighted

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  1 individuals do. In fact, Plaintiff intends to return to the Website when it is equally

  2 accessible for visually-impaired consumers in order to complete his intended

  3 transaction, as it is more convenient for Plaintiff to access the Website to make a

  4 purchase than to travel to a physical location to make the same purchase. However,

  5 as long as the Access Barriers continue to exist on the Website, Plaintiff is prevented

  6 from making such a purchase.

  7        34.    These barriers, and others, deny Plaintiff full and equal access to all of
  8 the services the Website offers, and now deter him from attempting to use the

  9 Website and/or visit Defendant physical stores. Still, Plaintiff would like to, and

 10 intends to, attempt to access Defendant’s Website in the future to research the

 11 services the Website offers, or to test the Website for compliance with the ADA.

 12        35.    Due to Defendant’s failure and refusal to remove access barriers to its
 13 Website, Plaintiff and visually impaired persons have been and are still being denied

 14 equal access to Defendant’s Website, and the numerous goods and services and

 15 benefits offered to the public through its Website.

 16        36.    Through his attempts to use the Website, Plaintiff has actual knowledge
 17 of the access barriers that make these services inaccessible and independently

 18 unusable by blind and visually impaired people.

 19        37.    Though Defendant may have centralized policies regarding the
 20 maintenance and operation of its Website, upon and information and belief,

 21 Defendant has never had a plan or policy that is reasonably calculated to make its

 22 Website fully accessible to, and independently usable by, individuals with vision

 23 related disabilities. As a result, the complained of access barriers are permanent in

 24 nature and likely to persist.

 25        38.    The law requires that Defendant reasonably accommodate Plaintiff’s
 26 disabilities by removing these existing access barriers. Removal of the barriers

 27 identified above is readily achievable and may be carried out without much difficulty

 28 or expense.

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  1         39.   Plaintiff’s above request for injunctive relief is consistent with the work
  2 performed by the United States Department of Justice, Department of Transportation,

  3 and U.S. Architectural and Transportation Barriers Compliance Board (the “Access

  4 Board”), all of whom have relied upon or mandated that the public-facing pages of

  5 website complies with an international compliance standard known as Web Content

  6 Accessibility Guidelines version 2.1 AA (“WCAG 2.1 AA”), which is published by

  7 an independent third party known as the Worldwide Web Consortium (“W3C”).

  8         40.   Plaintiff and the Class have been, and in the absence of an injunction
  9 will continue to be, injured by Defendant’s failure to provide its online content and

 10 services in a manner that is compatible with screen reader technology.

 11         41.   Defendant has long known that screen reader technology is necessary for
 12 individuals with visual disabilities to access its online content and services, and that it

 13 is legally responsible for providing the same in a manner that is compatible with these

 14 auxiliary aids.

 15         42.   Indeed, the Disability Rights Section of the DOJ reaffirmed in a 2015
 16 Statement of Interest before the United States District Court for the District of

 17 Massachusetts that it has been a “longstanding position” of the Department of Justice

 18 “that the ADA applies to website of public accommodations.” See National

 19 Association of the Deaf v. Massachusetts Institute of Technology, No. 3:15-cv-

 20 300024-MGM, DOJ Statement of Interest in Opp. To Motion to Dismiss or Stay,

 21 Doc. 34, p. 4 (D. Mass. Jun. 25, 2015) (“MIT Statement of Interest”); see also

 22 National Association of the Deaf. v. Harvard University, No. 3:15-cv-30023-MGM,

 23 DOJ Statement of Interest of the United States of America, Doc. 33, p.4 (D. Mass.

 24 Jun. 25, 2015) (“Harvard Statement of Interest”).

 25         43.   The ADA expressly contemplates the injunctive relief that Plaintiff seeks
 26 in this action. In relevant part, the ADA requires:

 27         44.   In the case of violations of . . . this title, injunctive relief shall include an
 28 order to alter facilities to make such facilities readily accessible to and usable by

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  1 individuals with disabilities . . . Where appropriate, injunctive relief shall also include

  2 requiring the . . . modification of a policy . . .

  3 42 U.S.C. § 12188(a)(2).

  4         45.    There is no DOJ administrative proceeding that could provide Plaintiff
  5 with Title III injunctive relief.

  6         46.    While DOJ has rulemaking authority and can bring enforcement actions
  7 in court, Congress has not authorized it to provide an adjudicative administrative

  8 process to provide Plaintiff with relief.

  9         47.    Plaintiff alleges violations of existing and longstanding statutory and
 10 regulatory requirements to provide auxiliary aids or services necessary to ensure

 11 effective communication, and courts routinely decide these types of matters.

 12         48.    Resolution of Plaintiff’s claims does not require the Court to unravel
 13 intricate, technical facts, but rather involves consideration of facts within the

 14 conventional competence of the courts, e.g. (a) whether Defendant offers content and

 15 services on its Website, and (b) whether Plaintiff can access the content and services.

 16         49.    Without injunctive relief, Plaintiff and other visually impaired
 17 consumers will continue to be unable to independently use the Website, thereby

 18 violating their rights.

 19                            CLASS ACTION ALLEGATIONS
 20         50.    Plaintiff, on behalf of himself and all others similarly situated, seeks to
 21 certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

 22 individuals in the United States who have attempted to access Defendant’s Website

 23 and as a result have been denied access to the equal enjoyment of goods and services,

 24 during the relevant statutory period.

 25         51.    Common questions of law and fact exist amongst the Class, including:
 26                (a)    Whether Defendant’s Website is a “public accommodation” under
 27 the ADA;

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  1               (b)    Whether Defendant’s Website denies the full and equal enjoyment
  2 of its products, services, facilities, privileges, advantages, or accommodations to

  3 people with visual disabilities, thereby violating the ADA.

  4        52.    Plaintiff’s claims are typical of the Class. The Class, like Plaintiff, are
  5 visually impaired or otherwise blind, and claim that Defendant has violated the ADA

  6 by failing to remove access barriers on its Website so it can be independently

  7 accessible to the Class.

  8        53.    Plaintiff will fairly and adequately represent and protect the interests of
  9 the Class Members because Plaintiff has retained and is represented by counsel

 10 competent and experienced in complex class action litigation, and because Plaintiff

 11 has no interests antagonistic to the Class Members.

 12        54.    Class certification of the claims is appropriate under Fed. R. Civ. P.
 13 23(b)(2) because Defendant has acted or refused to act on grounds generally

 14 applicable to the Class, making appropriate both declaratory and injunctive relief with

 15 respect to the Class as a whole.

 16        55.    Alternatively, class certification is appropriate under Fed. R. Civ. P.
 17 23(b)(3) because fact and legal questions common to Class Members predominate

 18 over questions affecting only individual Class Members, and because a class action is

 19 superior to other available methods for the fair and efficient adjudication of this

 20 litigation.

 21        56.    Judicial economy will be served by maintaining this lawsuit as a class
 22 action in that it is likely to avoid the burden that would be otherwise placed upon the

 23 judicial system by the filing of numerous similar suits throughout the United States.

 24                              FIRST CAUSE OF ACTION
 25        Violations of the ADA, 42 U.S.C. § 12181 et seq.
 26        57.     Plaintiff, on behalf of himself and the Class Members, repeats and
 27 realleges every allegation of the preceding paragraphs as if fully set forth herein.

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  1        58.    Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq.,
  2 provides:

  3        59.    No individual shall be discriminated against on the basis of disability in
  4 the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

  5 or accommodations of any place of public accommodation by any person who owns,

  6 leases (or leases to), or operates a place of public accommodation. 42 U.S.C. §

  7 12182(a).

  8        60.    Defendant’s physical locations are a public accommodation within the
  9 definition of Title III of the ADA, 42 U.S.C. § 12181(7). The Website is a service

 10 that is offered to the general public, and as such, must be equally accessible to all

 11 potential consumers.

 12        61.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful
 13 discrimination to deny individuals with disabilities the opportunity to participate in or

 14 benefit from the products, services, facilities, privileges, advantages, or

 15 accommodations of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

 16        62.    Under Section 302(b)(1) of Title III of the ADA, it is unlawful
 17 discrimination to deny individuals with disabilities an opportunity to participate in or

 18 benefit from the products, services, facilities, privileges, advantages, or

 19 accommodation, which is equal to the opportunities afforded to other individuals. 42

 20 U.S.C. § 12182(b)(1)(A)(ii).

 21        63.    Under Section 302(b)(2) of Title III of the ADA, unlawful
 22 discrimination also includes, among other things:

 23        64.    [A] failure to make reasonable modifications in policies, practices, or
 24 procedures, when such modifications are necessary to afford such goods, services,

 25 facilities, privileges, advantages, or accommodations to individuals with disabilities,

 26 unless the entity can demonstrate that making such modifications would

 27 fundamentally alter the nature of such goods, services, facilities, privileges,

 28 advantages or accommodations; and a failure to take such steps as may be necessary

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  1 to ensure that no individual with a disability is excluded, denied services, segregated

  2 or otherwise treated differently than other individuals because of the absence of

  3 auxiliary aids and services, unless the entity can demonstrate that taking such steps

  4 would fundamentally alter the nature of the good, service, facility, privilege,

  5 advantage, or accommodation being offered or would result in an undue burden. 42

  6 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

  7         65.   The acts alleged herein constitute violations of Title III of the ADA, and
  8 the regulations promulgated thereunder. Plaintiff, who is a member of a protected

  9 class of persons under the ADA, has a physical disability that substantially limits the

 10 major life activity of sight within the meaning of 42 U.S.C. § 12102(1)(A)-(2)(A).

 11 Furthermore, Plaintiff has been denied full and equal access to the Website, has not

 12 been provided services that are provided to other patrons who are not disabled, and

 13 has not been provided any reasonable accommodation to those services. Defendant

 14 has failed to take any prompt and equitable steps to remedy its discriminatory

 15 conduct. These violations are ongoing.

 16         66.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set
 17 forth and incorporated therein, Plaintiff, requests relief as set forth below.

 18                             SECOND CAUSE OF ACTION
 19     Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq.
 20         67.   Plaintiff, on behalf of himself and the Class Members, repeats and
 21 realleges every allegation of the preceding paragraphs as if fully set forth herein.

 22         68.   Defendant’s locations are “business establishments” within the meaning
 23 of the California Civil Code § 51 et seq. Defendant generates millions of dollars in

 24 revenue from the sale of its services in California through its store’s locations and

 25 related services and www.naturerepublicusa.com is a service provided by Defendant

 26 that is inaccessible to customers who are visually-impaired like Plaintiff and Class

 27 Members. This inaccessibility denies visually-impaired customers full and equal

 28 access to Defendant’s facilities and services that Defendant makes available to the

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  1 non-disabled public. Defendant is violating the Unruh Civil Rights Act, California

  2 Civil Code § 51 et seq., in that Defendant is denying visually impaired customers the

  3 services provided by www.naturerepublicusa.com. These violations are ongoing.

  4        69.    Defendant’s actions constitute intentional discrimination against Plaintiff
  5 and Class Members on the basis of a disability in violation of the Unruh Civil Rights

  6 Act, Cal. Civil Code § 51 et seq. in that: Defendant has constructed a website that is

  7 inaccessible to Plaintiff and Class Members; maintains the website in this

  8 inaccessible form; and has failed to take adequate actions to correct these barriers

  9 even after being notified of the discrimination that such barriers cause.

 10        70.    Defendant is also violating the Unruh Civil Rights Act, California Civil
 11 Code § 51. in that the conduct alleged herein likewise constitutes a violation of

 12 various provisions of the ADA, 42 U.S.C. § 12101 et seq. Section 51(f) of the

 13 California Civil Code provides that a violation of the right of any individual under the

 14 ADA shall also constitute a violation of the Unruh Civil Rights Act.

 15        71.    The actions of Defendant were and are in violation of the Unruh Civil
 16 Rights Act, California Civil Code § 51 et seq., and, therefore, Plaintiff and Class

 17 Members are entitled to injunctive relief remedying the discrimination.

 18        72.    Plaintiff and Class Members are also entitled to statutory minimum
 19 damages pursuant to California Civil Code § 52 for each and every offense.

 20        73.    Plaintiff and Class Members are also entitled to reasonable attorneys’
 21 fees and costs.

 22        74.    Plaintiff and Class Members are also entitled to a preliminary and
 23 permanent injunction enjoining Defendant from violating the Unruh Civil Rights Act,

 24 California Civil Code § 51 et seq., and requiring Defendant to take the steps

 25 necessary to make www.naturerepublicusa.com readily accessible to and usable by

 26 visually-impaired individuals.

 27 ///

 28 ///

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  1                               THIRD CAUSE OF ACTION
  2                                DECLARATORY RELIEF
  3           75.   Plaintiff, on behalf of himself and the Class Members, repeats and
  4 realleges every allegation of the preceding paragraphs as if fully set forth herein.

  5           76.   An actual controversy has arisen and now exists between the parties in
  6 that Plaintiff contends, and is informed and believes that Defendant denies, that its

  7 Website contains access barriers denying blind customers the full and equal access to

  8 the products, services and facilities of its Website, which Defendant owns, operations

  9 and controls, fails to comply with applicable laws including, but not limited to, Title

 10 III of the Americans with Disabilities Act, 42 U.S.C. § 12182, et seq. prohibiting

 11 discrimination against the blind.

 12           77.   A judicial declaration is necessary and appropriate at this time in order
 13 that each of the parties may know their respective rights and duties and act

 14 accordingly.

 15                                  PRAYER FOR RELIEF
 16           WHEREFORE, Plaintiff respectfully requests this Court grant the following
 17 relief:

 18           78.   A Declaratory Judgment that at the commencement of this action
 19 NATURE REPUBLIC INTERNATIONAL, LLC was in violation of the specific

 20 requirements of Title III of the ADA described above, and the relevant implementing

 21 regulations of the ADA, in that NATURE REPUBLIC INTERNATIONAL, LLC

 22 took no action that was reasonably calculated to ensure that its Website is fully

 23 accessible to, and independently usable by, individuals with visual disabilities;

 24           79.   A preliminary and permanent injunction pursuant to 42 U.S.C. §
 25 12188(a)(1) and (2) and section 52.1 of the California Civil Code enjoining

 26 Defendant from violating the Unruh Civil Rights Act and ADA and requiring

 27 Defendant to take the steps necessary to make https://www.converse.com/ readily

 28

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  1 accessible to and usable by visually-impaired individuals; An award of costs and

  2 expenses of this action;

  3         80.    An award of statutory minimum damages of $4,000 per offense per
  4 person pursuant to section 52(a) of the California Civil Code.

  5         81.    For attorneys’ fees and expenses pursuant to California Civil Code §§
  6 52(a), 52.1(h), and 42 U.S.C. § 12205; An order certifying the Class under Fed. R.

  7 Civ. P. 23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and

  8 his attorneys as Class Counsel; and

  9         82.    Such other and further relief as this Court deems just and proper.
 10                                       JURY DEMAND
 11         Plaintiff, on behalf of himself and all others similarly situated, hereby demands
 12 a jury trial for all claims so triable.

 13

 14 Dated: February 3, 2020                    Respectfully Submitted,
 15
                                               LAW OFFICE OF AMANDA BENEDICT
 16

 17
                                               /s/ Amanda F. Benedict
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